





















Opinion issued January 6, 2011



In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-01083-CR

NO. 01-10-01084-CR

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In re ROOSEVELT T. ADAMS JR., Relator



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&nbsp;



Original Proceeding on Petition for Writ of Mandamus

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MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator,
Roosevelt T. Adams Jr., has filed a pro se petition for writ of mandamus, asserting,
among other things, that his “rights are not being upheld” and that the
criminal proceedings below are “frivolous and malicious.”[1]&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

We deny the petition for
writ of mandamus.&nbsp; 

PER CURIAM

Panel
consists of Justices Jennings, Higley, and Brown.

Do
not publish.&nbsp; Tex. R. App. P. 47.2(b).&nbsp;


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[1]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator asserts that he has been
indicted for the offense of possession with intent to deliver in trial court
cause number 1243979 in the 228th District Court of Harris County, Texas, the
Honorable Marc Carter presiding.&nbsp; 







